 1   Lawrence “D” Pew (024507)
     Brandy Aguero (033723)
 2   PEW LAW CENTER, PLLC
     1811 S. Alma School Rd., Suite 260
 3   Mesa, Arizona 85210
     Tel: (480) 269-9545
 4   Fax: (480) 452-1142
     Email: legal1@pewlaw.com
 5   Attorneys for Debtor(s)

 6
                            IN THE UNITED STATES BANKRUPTCY COURT
 7
                                    FOR THE DISTRICT OF ARIZONA
 8
     In re:                                                 Chapter 13
 9
     Mary C Orwig                                           Case No: 4:18-bk-01604-SHG
10
                                                            MOTION TO EXTEND TIME TO FILE
11   Debtor.                                                SCHEDULES, STATEMENT AND
                                                            FORMS
12

13

14
              COMES NOW the Debtor, by and through counsel undersigned, and hereby apply to this
15
     Honorable Court for an Order granting the Debtor’s counsel additional time until March 21st,
16
     2018to file all required Statements, Schedules, and Forms and state as follows:
17

18       1. The case was filed on February 21st, 2018.

19       2. The 11 U.S.C. §341(a) Meeting of Creditors is scheduled for April 6th, 2018.
20       3. As a result of a variety of factors, Debtor’s counsel will not be able to properly prepare
21
              and file all required Schedules, Statements and Forms within the 14 days normally
22
              required.
23
         4. Debtor’s counsel believes that all required documents can be prepared and filed with the
24

25            Court no later than March 21st, 2018.

26   Dated: March 7, 2018                             PEW LAW CENTER, PLLC

27
                                                              By: /s/ LDP (024507)
28                                                            Lawrence D Pew
                                                        1     Attorney for Debtor
     Case 4:18-bk-01604-SHG          Doc 12 Filed 03/07/18 Entered 03/07/18 16:35:23                Desc
                                      Main Document    Page 1 of 2
 1
     Copy of the foregoing mailed, emailed, or notified via ECF
 2   March 7, 2018 to the parties listed below:

 3   Office of the U.S. Trustee
     230 N. 1st Ave. Ste. #204
 4   Phoenix, AZ 85003
 5   DIANNE C. KERNS
     7320 N. LA CHOLLA #154 PMB 413
 6   TUCSON, AZ 85741-2305

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                    2

     Case 4:18-bk-01604-SHG        Doc 12 Filed 03/07/18 Entered 03/07/18 16:35:23   Desc
                                    Main Document    Page 2 of 2
